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 6                         IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
 8                                             )    No. CR-18-00464-PHX-SPL
      United States of America,
 9                                             )
                                               )
                       Plaintiff,              )    ORDER
10                                             )
      vs.
11                                             )
                                               )
      Carl Allen Ferrer,                       )
12                                             )
13                     Defendant.              )
                                               )
14                                             )

15          Having considered Movant’s Verified Petition of April Ferrer for Determination of
16   Third Party Interest in Property Subject to Forfeiture (Doc. 58),
17          IT IS ORDERED setting a Motion Hearing on January, 25 2019 at 9:30 a.m.
18   before the Honorable Judge Steven P. Logan, United States District Judge, in the Sandra
19   Day O’Connor United States Courthouse, located at 401 West Washington Street, Phoenix,
20   Arizona 85003, 5th Floor, Courtroom 501.
21          Dated this 23rd day of January, 2019.
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23
                                                      Honorable Steven P. Logan
24                                                    United States District Judge
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